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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )         4:07CR3148-1
                                                 )
                      Plaintiff,                 )
                                                 )
      vs.                                        )
                                                 )         ORDER
MICHEL B. YODER,                                 )
                                                 )
                      Defendant.                 )

      On the court’s own motion and to accommodate a change in the undersigned’s
schedule,

       IT IS ORDERED that Defendant Yoder’s sentencing is rescheduled to 9:00 a.m. on
Friday, June 20, 2008, before the undersigned United States district judge, in Courtroom
No. 1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      June 4, 2008.                           BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
